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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT OF FLORIDA
                           Case No.18-21365-CIV-W ILLIAMS
  ST.LO UIS CONDO M INIUM ASSOCIATIO N,INC.,

        Plaintiff,

  VS.

  RO CKHILL INSURANCE CO M PANY,

        Defendant.
                                        /

                                        O R DE R
        THIS MATTER is before the Coud on PlaintiffSt.Louis Condom inium Association,

  Inca's motion forjudgmentasa matterofIaw.(DE 270).DefendantRockhilllnsurance
  Company filed a response (DE 273)and Plaintifffiled a reply (DE 275).Forthe reasons
  stated below ,Plaintiff's m otion is GRANTED IN PART AND DENIED IN PART.

        OnJune4,2019,following ajurytrial,thejuryrendered averdictinfavorofPlaintiff
  awarding Plaintiff$3,673,303.67 intotaldamages,which wasto be reduced by$359,578

  forpre-existing damages.(DE 263).The Coud entered finaljudgmentin the amountof
  $2,368,383.67,deducting the jury's finding of pre-existing damages and the Coud's
  determ ination ofthe deductible (DE 269).Plainti
                                                 ffnow moves forentryofjudgmentasa
  matterofIaw,requestingthatthe Coud 1)strikethejury'sfindingofpre-existingdamages,
  2)exclude applicability ofthe deductible to the verdict,and 3)add pre-judgmentinterest
  from the date Defendantreceived notice ofthe claim .

         Federal Rule of CivilProcedure 50(b) allows a pady to renew a motion for
  judgmentasa matterofIaw made pursuantto Rule 5O(a)following entryofajuryverdict.
  Rule 50(b)provides,in pertinentpart,asfollows:
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        (b)Renewing the MotionAfterTrial;Alternative Motion fora New Trial.
        Ifthe coud does notgranta motion forjudgmentas a matterofIaw made
        underRule 50(a),the courtis considered to have submitted the action to
        thejurysubjecttothe coud'sIaterdecidingthe Iegalquestionsraised bythe
         motion....In ruling on the renewed m otion,the courtmay:

        (1)allow judgmenton the verdict,ifthejury returned a verdict'
                                                                    ,(2)ordera
        new trial;or(3)directthe entryofjudgmentas a matterofIaw.

        W hen considering a Rule 50(b) motion,the courtmust considerthe evidence
  presented at trial,drawing aIIreasonable inferences in favor ofthe non-m oving pady.

  Cleveland v.Home Shopping Network,Inc.,369 F.3d 1189,1192-93 (11th Cir.2004).
  ldcredibility determ inations,the weighing ofthe evidence,and the drawing oflegitim ate

  inferences from the facts are jury functions,notthose ofa judge.''/d.(citing Reeves v.
  Sanderson Plumbing Products,530 U.S.133,148-151 (2000)).Plaintiff's motion should
  notbe granted ''ifthere was any Iegally sufficientbasis fora reasonable jury to find in
  favorof''Defendant.Marlite,Inc.B.Eckenrod,537 F.App'x 815,816 (11th Cir.2013)
  (internalquotationsomitted).
        First, Plaintiff argues that no Iegally sufficient evidentiary basis exists for a

  reasonable jury to find pre-existing damages notcaused by Hurricane Irma.(DE 270).
  ButPlaintiffacknowledges in its motion thatwitness BertDavis provided testim ony ''to the

  effectthatsom e ofthe 40 dam aged windows he observed had balances orgaskets that

  were broken and may have deteriorated since originalinstallation.''(Id.j.In its response,
  Defendantstates that although itdid notprovide experttestim ony as to the am ountof

  Plaintiff's damages,it'challenged the basis forthe estim ate presented to the jury by
  Plaintiff'sgeneralcontracting exped'
                                     ',HectorTorres.(DE 273).Defendantarguesthatthe
  jury's finding ofpre-existing damages coincideswith an entry forwaterproofing/general

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  caulking ofwindows/doors on a building restoration estim ate prepared by Torres.The

  Padies dispute whether ornotthatam ountis related to cedain witness testim ony and

  whetheritis corroborated by otherevidence.However,determ ining whetherthe am ount

  constitutes the building's pre-existing dam ages based on the evidence presented is a

  function ofthe jury,notthe Coud.Drawing aIIreasonable inferences in favorofthe
  nonm oving party,and in Iight ofaIIthe evidence presented attrial,the CourtDENIES

  Plaintiff'smotion to strike the jury's finding ofpre-existing damages.
        Plaintiffalso moves to exclude application ofthe deductible to the verdict.(DE
  270).According to Plaintiff,the insurance policy issued by Defendantviolates Fla.Stat.j
  627.7O1(2)(b)inspecifying the deductible asa percentage ratherthan aspecificamount.
  Fla.Stat.j 627.701(2)(b)provides,in pertinqntpad,asfollows:
        Unless the office determ ines that the deductible provision is clear and
        unam biguous,a propedy insurer m ay not issue an insurance policy or
        contract covering realpropedy in this state which contains a deductible
        provision that:...

        (b)Statesthe deductible as a percentage ratherthan asa specificam ount
        ofm oney.

  The insurance policy defines the hurricane deductible am ountas 113% oftotalinsured

  values perbuilding,percalendaryear,subjectto a m inim um of$25,000 peroccurrence.''
  (DE 270).Although the policy states the deductible as a percentage ratherthan as a
  specific am ount,because the provision is clear and unam biguous,Plaintiff's argum ent

  falls shod.Plaintiffacknowledges itdoes nothave any authority forits proposition thatthe

  provision's Ianguage is am biguous. Rather, Plaintiff's only basis to suggest that the

  provision is notclearis provided in a footnote stating that''given thatthere is only one

  building and the totalinsured value is shown as $31,511,400,the inclusion of'buildings'


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  and a minimum of$25,000 renderthe deductible provision ambiguous,and therefore,
  unenforceable.''(DE 270).Plaintiff'sargumentwould have meritifthetotasinsured value
  were disputed or unclear. However, as Plaintiff notes,the totalinsured value for the

  property insured by the policy is $31,511,400.Accordingly, 3% of that amount is
  $945,342,the deducible applied by the Courtin this matter's finaljudgment.(DE 269).
  Therefore,the CourtDENIES Plaintiff's m otion to exclude application ofthe deductible to

  the verdict.

         Finall
              y,Plaintiffasseds thatitis entitled to pre-judgmentinterestfrom the date
  Defendantreceived noticeofthe claim pursuantto Fla.Stat.j627.70131(5)(a).(DE 270).
  Defendantstates in its response thatPlaintiffs calculations are notbased on the final

  judgmentand itt'reservesthe rightto challenge Plaintiff'sentitlementto and the stad date
  ofanypre-judgmentinterestgiven Plaintiff'sfailure to provide anydocumentaryevidence
  in suppod ofits claim untilJanuary4,2019.''(DE 273).Although the time forchallenging
  Plaintiff's entitlementto any pre-judgmentinterestis in response to Plaintiff's motion,
  Defendantinstead chose to address this issue in its response to a separate motion filed

  by Plaintiffto al
                  teroramend thefinaljudgment.(DE 274).Even there,the only authority
  Defendantcites to forthe proposition thatPlaintiffis notentitled to pre-judgmentinterest
  is Fla.Stat.j 626.913,d'Surplus Lines Law'
                                           ,shod title'
                                                      ,purposes.' (Id.4. Essentiall
                                                                                  y,
  Defendantargues thatitis a surplus Iines insurerand is therefore exem ptfrom its pre-

  judgmentinterestrequirements.Plaintiffargues in its ReplythatDefendant''did notclaim
  such status in any pleading,and cedainly not in its Answer,Affirm ative Defenses and

  Counterclaim.'(DE 275).In fact,Defendant'sfifteenth affirmative defense in itsAnswer
  stated:''lDefendant)asserts thatthe extentofPlaintiff's recovery ofbenefits underthe

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  Policy,prejudgmentinterestand/orattorneys'fees,ifany,should bereduced byPlaintiff's
  inequitable conductand the doctrine ofunclean hands.''(DE 8).Defendantdid notraise
  any affirm ative defense related to its purpoded exem ption for being a surplus Iines

  insurer,nor did it raise the exem ption in any other pad of its answer in response to

  Plaintiff'sclaims.(/d.).Because the juryfoundthatPlaintiffcomplied with itsduties under
  the policy before filing the Iawsuit,Plaintiffis entitled to pre-judgmentinteresteven in
  accordancewith Defendant'sown affirmative defense.(DE 263).
        Defendantalso disputes the date pre-judgmentinterestwould begin to accrue i
                                                                                  f
  awarded,but provides no authority to suppod the date it proposes.Accordingly,the

  Padiesaredirectedto submita proposedfinaljudgmentwithinfivedaysincorporatingthe
  pre-judgmentinterestatthe statutory rate authorized underFlorida Iaw in Iightofthe
  Court's order denying Plaintiff's m otion to exclude application of the deductible and

  denying Plaintiff's motionto strike thejury'sfinding ofpre-existing damages.The Padies
  shallinclude ci
                tations discussing the appropriate date the pre-judgmentinterestshall
  begin to accrue,and shallprovide calculations forthose possible dates.

        Accordingly,itis ORDERED AND ADJUDGED thatPlaintiff's motion (DE 270)is
  GRA NTED IN PART AND DENIED IN PART as follows:

            Plaintiff'smotionto strike thejury'sfinding ofpre-existing dam ages is DENIED.
            Plaintiff's m otion to exclude application of the deductible to the verdict is

            D EN IE D.

        3. Plaintiff'smotionto award pre-judgmentinterestis GRANTED.
        4. The Padies shallsubmita proposed finaljudgmentas setforth above within
           five days ofthis O rder.


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          DO NE AND O RDERED in cham bers in M iam i, Florida' thi   day-ofAugustj

  2019.
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                                               KATHLEE M .W ILLIAM S
                                               UNITED S ATES DISTRICT JUDGE




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